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                                         UNITED STATES DISTRICT COURT
                                        CENTRAL DISTRICT OF CALIFORNIA
                                                                      CASE NUMBER
NETLIST INC., a Delaware corporation,                                                8:20-cv-993-MCS (ADS)

                              v.                      PLAINTIFF(S),

SAMSUNG ELECTRONICS CO., LTD., a                                                 APPLICATION TO THE CLERK
Korean corporation,                                                                    TO TAX COSTS
                                                  DEFENDANT(S)
Complete this form, including the Bill of Costs chart in section 2 and, if claiming witness fees, the Witness Fees chart in section 3.
The completed form must then be submitted to the Court in two ways: (1) saved as a PDF document and e-filed (with all necessary
attachments) in the case docket using the “Clerk to Tax Costs (CV-59)” event in the Court’s CM/ECF System; and (2) saved as a
Word document (.doc or .docx) and submitted by email (without attachments) to Cost_BillsLA@cacd.uscourts.gov. See L.R. 54-3 et
seq. and the Bill of Costs Handbook (www.cacd.uscourts.gov/court-procedures/filing-procedures/bill-costs) for more information.


 Name(s) of party or parties           Netlist Inc.
 claiming costs:
 Judgment entered on:                  February 15, 2022                                 Docket #:       306

 Names of party(ies) against
 whom judgment was entered: Samsung Electronics Co., Ltd.

                                      DECLARATION UNDER 28 U.S.C. § 1924
I declare under penalty of perjury that the costs itemized in this CV-59 Form are correct and were necessarily
incurred in this action and that the services for which fees have been charged were actually and necessarily
performed.
 Date: February 28, 2022                     Signature:               /s/ Raymond A. LaMagna
                                             Name:                    Raymond A. LaMagna
                                             ☒ Attorney of            Plaintiff Netlist, Inc.
                                                Record for:
                                                       COURT USE ONLY
  ☒ Application GRANTED in whole/part; costs are taxed in the amount of $ 55,385.04
  ☐ Application DENIED because: ☐ Not timely filed (L.R. 54-2.1).
                                ☐ Insufficient supporting documentation provided (L.R. 54-2.1).
                                ☐ Filer is not prevailing party (L.R. 54-1).

  Date: April 1, 2022                      Kiry K. Gray, District Court Executive/Clerk of Court
                                              By: __________________________________
                                                  Deputy Clerk


CV-59 (11/21)                        APPLICATION TO THE CLERK TO TAX COSTS                                                  Section 1
     Case 8:20-cv-00993-MCS-ADS Document 321 Filed 04/01/22 Page 2 of 4 Page ID #:14419
          Case Title: Netlist, Inc. v. Samsung Electronics Co., Ltd.; Case No: 8:20-cv-993-MCS (ADS)

                                                 BILL OF COSTS
                              The Clerk does not have discretion to tax any item
                                not identified as taxable in the Local Rules.
  Click in one of the grey boxes in the “Amount Claimed” column, enter the relevant amount, and then use the
“tab” key to move to the next field; this will cause the form to adjust the column total at the bottom of the chart.
                                A list of disallowance codes is provided below the chart.

                         SUPPORTING DOCUMENTS                AMOUNT                ~ IF ANY AMOUNT DISALLOWED ~
          AMOUNT           (Must be itemized below and      ALLOWED AMOUNT CODE*                       ADDITIONAL REASONS
TAB      CLAIMED cross-referenced to attachments.)                           (Shaded columns for Court use only.)
         L.R. 54-3.1 Clerk’s Fees (only if in 28 USC § 1914 or www.uscourts.gov/services-forms/fees/district-court-miscellaneous-fee-
         schedule)
 1
                        Tab 1 - Invoice for filing fees for
         $400.00                                            $400.00
                        new civil action.
         L.R. 54-3.2 Fees for Service of Process
                        Tab 2 - Invoices for service of
                        process for:
                        (a) complaint on foreign
 2                      defendant [$965.90],
         $2,056.04                                          $2,056.04
                        (b) deposition subpoena on
                        witness Steven Metz [$711.45]
                        (c) trial subpoena on witness Neal
                        Knuth [$378.69].
         L.R. 54-3.3 United States Marshal’s Fees
 3
         $0.00          N/A
         L.R. 54-3.4 Transcripts of Court Proceedings (order or stipulation required and must be attached)
 4
         $0.00          N/A
         L.R. 54-3.5 Depositions (if order or stipulation required by rule, it must be attached)
                        Tab 5A - Invoices for reporting
                        services for deposition transcripts
                        [$24,080.10];
                        Tab 5B - Invoices for appearance
                                                                                                 A third copy of a deposition
                        fees charged by reporters
                                                                                                 transcript (in this instance a
 5                      [$9,632.50];
         $36,302.45                                           $33,495.95       $2,806.50      D  rough draft) in addition to an
                        Tab 5C - Invoices for coping
                                                                                                 original and a copy is not
                        exhibits made a part of transcript
                                                                                                 taxable pursuant to L.R. 54-3.5
                        [$2,589.85].
                        (For each of above, see attached
                        Further Declaration for witness
                        details.)
         L.R. 54-3.6 Witness Fees (TAXED AT STATUTORY RATE ONLY; complete Witness Fees Chart, below)
                        Tab 6 - Invoice for appearance
 6
         $110.00        fee and mileage for trial             $110.00
                        attendence of witness Neal Knuth
         L.R. 54-3.7 Interpreter’s Fees (document translation costs are not taxable)
                        Tab 7 - Invoices for interpreter
 7                      fees required for depositions.
         $8,925.00                                            $8,925.00
                        (See attached Further Declaration
                        for witness details.)
         L.R. 54-3.8 Docket Fees (only as provided by 28 U.S.C. § 1823)
 8
         $0.00          N/A
 9       L.R. 54-3.9 Court-Appointed Experts, Masters, Commissioners, and Receivers (attach appointment order)



CV-59 (11/21)                        APPLICATION TO TAX COSTS – BILL OF COSTS                                             Section 2
      Case 8:20-cv-00993-MCS-ADS Document 321 Filed 04/01/22 Page 3 of 4 Page ID #:14420
                                 SUPPORTING DOCUMENTS                  AMOUNT                  ~ IF ANY AMOUNT DISALLOWED ~
                 AMOUNT            (Must be itemized below and         ALLOWED          AMOUNT CODE*            ADDITIONAL REASONS
 TAB             CLAIMED         cross-referenced to attachments.)                       (Shaded columns for Court use only.)
                 $0.00           N/A
                 L.R. 54-3.10 Certification, Exemplification and Reproduction of Documents (if order or stip required, it must be attached)
                 L.R. 54-3.10(a): “cost of copies of documents necessarily filed and served”
          (a)
                                Tab 10 - Invoice to copy Court-
                 $10,938.05                                          $10,398.05
                                ordered copies of Trial Exhibits.
                 L.R. 54-3.10(b): “cost of copies of documents or other materials admitted into evidence”
          (b)
                 $0.00           N/A
                 L.R. 54-3.10(c): “Fees for an official certification of proof respecting the non-existence of a document or record”
          (c)
                 $0.00           N/A

10               L.R. 54-3.10(d): “Patent Office charges” for necessary “patent file wrappers and prior art patents”
          (d)
                 $0.00           N/A
                 L.R. 54-3.10(e): “Notary fees” of taxable documents
          (e)
                 $0.00           N/A
                 L.R. 54-3.10(f): “Fees for certification or exemplification of any document or record necessarily obtained for use in the case”
          (f)
                 $0.00           N/A
                 L.R. 54-3.10(g): “cost of physically replicating or reproducing material necessarily obtained for use in the case”
          (g)
                 $0.00           N/A
                 L.R. 54-3.11 Premiums on Undertakings and Bonds
     11
                 $0.00           N/A
                 L.R. 54-3.12 Other Costs (Court order must be attached; only visual aids, models, and photographs taxable under this rule)
     12
                 $0.00           N/A
                 L.R. 54-3.13 State Court Costs (taxable only if taxable in state court; include citation to applicable state statute or rule)
     13
                 $0.00           N/A
                 L.R. 54-4 Items Taxable as Costs on Appeal (only items taxable under Fed. R. App. P. 39(e))
     14
                 $0.00           N/A
                 L.R. 54-5 Items Taxable as Costs on a Bankruptcy Appeal to the District Court
     15
                 $0.00           N/A
TOTAL
                 $58,731.54                                            $55,385.04      $2,806.50



                *Reason Codes for Disallowance of Claimed Costs:

                “A” – No supporting documents provided.
                “B” – Order/Stip required but not provided.
                “C” – Documents provided do not support full amount claimed.
                “D” – Item does not fall within the scope of the Local Rule.
                “E” – Invoice includes both taxable and non-taxable costs, but no breakdown is provided.
                “F” – Amount claimed reduced by agreement after meet and confer.
                “G” – Other.




 CV-59 (11/21)                                 APPLICATION TO TAX COSTS – BILL OF COSTS                                                  Section 2
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       Case Title: sNetlist, Inc. v. Samsung Electronics Co., Ltd.; Case No: 8:20-cv-993-MCS (ADS)

                                                 WITNESS FEES
  WITNESS FEES/EXPENSES COMPUTATION WORKSHEET: INSTRUCTIONS
   Attendance fees taxable only at statutory rate. 28 U.S.C. § 1821(b).
   Travel in a privately owned vehicle (“POV”) is computed at federal government rates in the year of travel. Visit gsa.gov
     for current POV mileage reimbursement rate.
   For mileage claims, distances should be documented (through Google maps or similar); point of trip origin should be
     documented if different from place of residence.
   Subsistence expenses (including lodging and meals) for overnight stay (if required due to distance) are allowed but may
     not exceed maximum per diem allowance for federal government employees. View gsa.gov lodging per diem rates. View
     gsa.gov meals and incidental expenses per diem rates.


                           WITNESS FEES (computation, see 28 U.S.C. § 1821 for statutory fees)
                                                 ATTENDANCE         SUBSISTENCE          MILEAGE
                NAME, CITY AND STATE                                                                      Total Cost Each Witness
                                                Days    Total Cost Days   Total Cost Miles   Total Cost

   Neal Knuth, San Clemente, CA                    1     $40.00 N/A          $0.00 124.6      $72.89                     $112.89
                                                                                                                            $0.00
                                                                                                                            $0.00
                                                                                                                            $0.00
                                                                                                                            $0.00
                                                                                                                            $0.00
                                                                                                                            $0.00
                                                                                                                            $0.00
                                                                                                                            $0.00
                                                                                                                            $0.00
                                                                                             TOTAL                       $112.89




CV-59 (11/21)                       APPLICATION TO TAX COSTS – WITNESS FEES                                                  Section 3
